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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



 UNITED STATES OF AMERICA

        v.

 GREGG SMITH,                                      Case No. 19-cr-00669
 MICHAEL NOWAK,
                                                   Hon. Edmond E. Chang
 JEFFREY RUFFO, and
 CHRISTOPHER JORDAN,

                       Defendants.



                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that on February 27, 2020, at 8:30 a.m., or as soon thereafter

as counsel may be heard, the undersigned counsel for Michael Nowak shall appear before the

Honorable Edmond E. Chang, or any judge sitting in his stead in the courtroom usually occupied

by him in Room 2119, Dirksen Federal Building, 219 South Dearborn Street, Chicago, Illinois,

and then and there present Defendants’ Joint Unopposed Motion for Leave to File a Joint Brief in

Excess of 15 Pages.



Dated: February 24, 2020

                                                Respectfully submitted,


                                                 /s/ David Meister
                                                David Meister
                                                Jocelyn E. Strauber
                                                Chad E. Silverman
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2020, I caused a copy of the foregoing NOTICE OF

MOTION to be filed with the Clerk of the Court through the CM/ECF system, which will

provide notice of the filing to all counsel of record.


                                                    /s/ David Meister
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